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                                          November 16, 2023


  The Honorable Christopher J. Burke                                     VIA ELECTRONIC FILING
  J. Caleb Boggs Federal Building                                           AND HAND DELIVERY
  844 North King Street
  Wilmington, DE 19801-3555

          Re:       Pfizer Inc., et al. v. Dexcel Pharma Technologies Limited,
                            C.A. No. 23-879 (JCG) (CJB);
                    Pfizer Inc., et al. v. Cipla Limited, C.A. No. 23-909 (GBW) (CJB);
                    Pfizer Inc., et al. v. Aurobindo Pharma Limited, C.A. Nos. 23-923 (GBW) (CJB)
                            and 23-1182 (GBW) (CJB);
                    Pfizer Inc., et al. v. Zenara Pharma Private Limited,
                            C.A. No. 23-924 (GBW) (CJB)

 Dear Judge Burke:

          Pursuant to the Court’s Oral Order (see, e.g., D.I. 15 in C.A. No. 23-879), the parties submit
 this letter, a copy of Your Honor’s Case Management Checklist (Ex. A), and an agreed [Proposed]
 Scheduling Order (Ex. B). If it meets with the Court’s approval, the parties request that their
 [Proposed] Scheduling Order be entered.

        These cases are Hatch-Waxman actions. Defendants have filed Abbreviated New Drug
 Applications seeking to market generic versions of Plaintiffs’ Vyndamax® (tafamidis) (defendants
 Dexcel, Cipla, and Zenara) or Vyndaqel® (tafamidis meglumine) (defendant Aurobindo) products,
 which are approved for treatment of cardiomyopathy of wild-type or hereditary transthyretin-
 mediated amyloidosis in adults. Plaintiffs have asserted U.S. Patents Nos. 7,214,695 (Dexcel and
 Aurobindo); 7,214,696 (Dexcel and Aurobindo); and 9,770,441 (Dexcel, Cipla, and Zenara), all
 of which are listed in the Orange Book.

         The parties met and conferred via telephone on October 23 and November 7 and reached
 agreement on the attached [Proposed] Scheduling Order (Ex. B). The three most significant issues
 from the Case Management Checklist discussed during the parties’ meet and confers were:
 (1) consolidation of the cases, to which the parties agreed (see Ex. B, Paragraph 1); (2) a procedure
 for case dispositive motions with respect to U.S. Patent No. 9,770,441, which the parties reached
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 agreement on, and submit for the Court’s approval (see Ex. B, Paragraph 17); and (3) limitations
 on discovery, which the parties reached agreement on.

        Counsel are available at the Court’s convenience, should Your Honor have any questions.

                                             Respectfully,

                                             /s/Megan E. Dellinger
                                             Megan E. Dellinger (#5739)

 MED/bac
 Attachments

 cc:    Clerk of the Court (via hand delivery; w/attachments)
        All Counsel of Record (via electronic mail; w/attachments)
